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                              UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                                                          www.flsb.uscourts.gov
                                              CHAPTER 13 PLAN (Individual Adjustment of Debts)
                        ■                                  Original Plan
                                                                 Amended Plan (Indicate 1st, 2nd, etc. Amended, if applicable)
                                                                 Modified Plan (Indicate 1st, 2nd, etc. Modified, if applicable)

DEBTOR: Miguel Bolivar                                JOINT DEBTOR:                                        CASE NO.:
SS#: xxx-xx- 5030                                        SS#: xxx-xx-
I.          NOTICES
            To Debtors:        Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans
                               and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
                               Local Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
                               filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.
            To Creditors:      Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
                               be reduced, modified or eliminated.
            To All Parties:    The plan contains no nonstandard provisions other than those set out in paragraph VIII. Debtor(s) must check one
                               box on each line listed below in this section to state whether the plan includes any of the following:
  The valuation of a secured claim, set out in Section III, which may result in a
                                                                                                                  Included         ■   Not included
  partial payment or no payment at all to the secured creditor
  Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set
                                                                                                                  Included         ■   Not included
  out in Section III
  Nonstandard provisions, set out in Section IX                                                                   Included         ■   Not included
II.         PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

            A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
               fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
               amount will be paid to unsecured nonpriority creditors pro-rata under the plan:


                   1.   $4,056.24           for months   1    to 60 ;

            B. DEBTOR(S)' ATTORNEY'S FEE:                                             NONE      PRO BONO
        Total Fees:            $4,650.00           Total Paid:             $615.00            Balance Due:           $4,035.00
        Payable             $67.25          /month (Months 1      to 60 )
        Allowed fees under LR 2016-l(B)(2) are itemized below:
        $4,650.00 Safe Harbor Attorney Fees and Costs (Bankruptcy)

        Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
III.        TREATMENT OF SECURED CLAIMS                          NONE
            A. SECURED CLAIMS:                 NONE
            [Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Lien on Real or Personal Property:
         1. Creditor: Caliber Home Loans, Inc.
              Address: Attn: Cash Operations             Arrearage/ Payoff on Petition Date   $96,609.59
                       PO Box 24330
                                                         Arrears Payment (Cure)                       $1,610.16      /month (Months    1   to 60 )
                       Oklahoma City, OK
                       73124                             Regular Payment (Maintain)                   $1,438.20      /month (Months    1   to 60 )


         Last 4 Digits of
         Account No.:                8308
        Other:

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                                                                              Debtor(s): Miguel Bolivar                                    Case number:

         ■   Real Property                                                                Check one below for Real Property:
                 ■ Principal   Residence                                                   ■     Escrow is included in the regular payments
                    Other Real Property                                                          The debtor(s) will pay         taxes       insurance directly
         Address of Collateral:
         16443 SW 68th Terrace
         Miami, Florida 33193
             Personal Property/Vehicle
         Description of Collateral:

         2. Creditor: Lake Avila Townhomes Association, Inc.
              Address: Executive National Bank                 Arrearage/ Payoff on Petition Date            $5,200.00
                       Lockbox
                                                               Arrears Payment (Cure)                                    $86.67         /month (Months    1   to 60 )
                       PO Box 162708
                       Miami, Florida 33116                    Regular Payment (Maintain)                                $130.00        /month (Months    1   to 60 )


         Last 4 Digits of
         Account No.:                 7003
        Other:

         ■   Real Property                                                                Check one below for Real Property:
                 ■ Principal   Residence                                                         Escrow is included in the regular payments
                    Other Real Property                                                          The debtor(s) will pay         taxes       insurance directly
         Address of Collateral:
         16443 SW 68th Terrace
         Miami, Florida 33193
             Personal Property/Vehicle
         Description of Collateral:
             B. VALUATION OF COLLATERAL:                        ■     NONE
             C. LIEN AVOIDANCE               ■    NONE
             D. SURRENDER OF COLLATERAL:                          ■    NONE
             E. DIRECT PAYMENTS                   ■   NONE
IV.          TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]                                                  NONE
             A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE:                                                  ■     NONE
             B. INTERNAL REVENUE SERVICE:                             NONE
                  Total Due:             $17,900.00              Total Payment                      $17,900.00
                    Payable:        $298.34           /month (Months           1        to 60 )


             C. DOMESTIC SUPPORT OBLIGATION(S):                           ■    NONE
             D. OTHER:         ■   NONE
V.           TREATMENT OF UNSECURED NONPRIORITY CREDITORS                                                    NONE
               A. Pay           $20.00           /month (Months       1       to 60 )
                     Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
               B.       If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
               C. SEPARATELY CLASSIFIED:                   ■    NONE

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                                                                    Debtor(s): Miguel Bolivar                 Case number:
VI.         STUDENT LOAN PROGRAM                 ■   NONE
VII.        EXECUTORY CONTRACTS AND UNEXPIRED LEASES                                ■   NONE
VIII.       INCOME TAX RETURNS AND REFUNDS:                   ■    NONE
IX.         NON-STANDARD PLAN PROVISIONS                 ■   NONE


                        PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

   I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.


                                        Debtor                                                         Joint Debtor
  Miguel Bolivar                                            Date                                                             Date



  /s/                                        01/04/2022
    Attorney with permission to sign on                Date
             Debtor(s)' behalf
   By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
   order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
   contains no nonstandard provisions other than those set out in paragraph VIII.




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